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 1    John Antoni, Esq., SBN 163738
      ANTONI ALBUS, LLP
 2    11836 W. Pico Boulevard
 3
      Los Angeles, California 90064
      Tel.: (310) 954-8020
 4    Facsimile: (310) 954-8988
      Email: Antoni@aallp.net
 5
      William Pittard, Esq. (Pro Hac Vice)
 6    Courtney Forrest, Esq. (Pro Hac Vice)
 7    KAISERDILLON PLLC
      1099 14th Street NW
 8    8th Floor West
      Washington, DC 20005
 9    Tel: (202) 640-2850
10
      Facsimile: (202) 280-1034
      Email: wpittard@kaiserdillon.com
11    Email: cforrest@kaiserdillon.com
12    Attorneys for Defendant George Nader
13

14
                           UNITED STATES DISTRICT COURT
15
                         CENTRAL DISTRICT OF CALIFORNIA
16
                                   WESTERN DIVISION
17
       MOSAFER INC.; MOSAFER E-               CASE NO.: 2:21-cv-06320-MCS-JC
18     COM, INC.; AND GOMOSAFER
                                              REPLY IN SUPPORT OF
19                         Plaintiffs,
                                              DEFENDANT GEORGE NADER’S
20                  v.                        MOTION TO STRIKE (CAL. CODE
21
                                              OF CIV. PROC. § 425.16) OR,
       ELLIOT BROIDY; GEORGE
       NADER; BROIDY CAPITAL                  ALTERNATIVELY, TO DISMISS
22     MANAGEMENT, LLC;                       COMPLAINT (FRCP 12(b)(1) AND
       CIRCINUS, LLC; THE IRON                12(b)(6)); MEMORDANDUM OF
23     GROUP INC. D/B/A/
       IRONISTIC.COM; SCL SOCIAL              POINTS AND AUTHORITIES IN
24     LIMITED; PROJECT                       SUPPORT
       ASSOCIATES UK LTD;
25     MATTHEW ATKINSON; AND
       JOHN DOES 1-100,                       Date:     December 6, 2021
26
                          Defendants.         Time:     9:00 a.m.
27                                            Crtrm.:   7C
28
                                              Before:   Hon. Mark C. Scarsi

        REPLY IN SUPPORT OF DEFENDANT GEORGE NADER'S ANTI-SLAPP MOTION TO
                            STRIKE OR MOTION TO DISMISS
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 1                                       INTRODUCTION
 2            Plaintiffs tacitly concede that their Complaint asks this Court to do two
 3    extraordinary things. First, it seeks to impose a theory of liability that would allow
 4    any business “intimately associated with [a country] in the eyes of the consumer”
 5    to sue anyone who is critical of that country for any reason. See ECF No. 83
 6    (Plaintiffs’ Opposition) at 3. They do not dispute that that is the necessary
 7    extension of their argument, see ECF No. 61 (Nader Motion to Strike) at 1, nor
 8    offer this Court any limiting principle whatsoever. Because none exists.
 9            Second, Plaintiffs do not dispute that to meet the pleading requirements of
10    Rule 9(b), they were required to plead facts suggesting that Nader knew it was
11    supposedly false that Qatar supports terrorism—even though the State Department,
12    the Treasury Department and the current National Security Adviser all publicly
13    have said the exact opposite. Id. at 13.
14            As those things (and more) illustrate, Plaintiffs’ real intent in filing this
15    lawsuit is not to advance plausible legal theories, or to assert facts it has any
16    chance of proving; it is to suppress the political speech of longtime critics of Qatar.
17    That is precisely the kind of conduct anti-SLAPP laws are meant to prevent. Their
18    Complaint should be stricken, or in the alternative dismissed.
19                                          ARGUMENT
20    I.      Nader Is Not Liable For Acts Of Other Defendants Under Conspiracy
21            Or Agency Theories.
22            First, Plaintiffs fail to address Nader’s argument that they cannot adequately
23    plead conspiracy with “bare assertions of agreement” or indiscriminate claims that
24    “conspiracies existed between and among all defendants.” ECF No. 61 at 4-5.
25    Plaintiffs have not pled facts connecting Nader to any defendant other than Broidy,
26    and thus Nader is not liable for the alleged acts of any other defendant.
27            Further, the various agreements between Broidy and Nader alleged in the
28    Complaint do not constitute an unlawful conspiracy because they did not agree to
                                              1
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 1    engage in activity that was wrongful as to Plaintiffs. See ECF No. 61 at 5.1
 2    Broidy’s and Nader’s alleged agreement to lobby the U.S. government about
 3    political and economic issues concerning a foreign country—Qatar—is not an
 4    agreement to harm Plaintiffs, who are American businesses that Nader had never
 5    heard of. See ECF No. 1 ¶¶ 7, 9, 17-18.
 6           Finally, Plaintiffs argue that they have alleged Nader’s vicarious liability for
 7    acts committed by an agent. See ECF No. 83 at 10. They point to vague
 8    allegations that “Defendants paid influencers to create conferences to engrain
 9    falsehoods…” and, further, that Broidy and Nader hired American companies and
10    actors to use media to “disseminate disinformation.” ECF No. 1 ¶¶ 10, 61. But
11    agency requires that the agent be “subject to the principal’s control, and the agent
12    manifests assent or otherwise consents so to act.” Jones v. Royal Admin. Servs.,
13    Inc., 887 F.3d 443, 448 (9th Cir. 2018). And the Complaint alleges no facts about
14    Nader’s supposed control over unnamed “influencers,” “actors,” or “American
15    companies,” ECF No. 1 ¶¶ 10, 61, nor does it plead facts identifying the “‘course
16    and scope’” of the agency or tortious acts that were purportedly “‘directed or
17    authorized,’” as even its own cases require. See ECF No. 83 at 9-10 (citations
18    omitted). This is fatal to Plaintiffs’ fraud-by-agency theory under Rule 9(b). See
19    Lomeli v. Jackson Hewitt, Inc., 2017 WL 4773099, at *4 (C.D. Cal. Oct. 19, 2017)
20    (as to fraud-by-agency, “Rule 9(b) requires that the existence of the agency
21    relationship be pled with particularity”) (brackets omitted).
22    II.    The Illegal Activity Exception To The Anti-SLAPP Statute Does Not
23           Apply.
24           Plaintiffs claim that Nader may not invoke California’s anti-SLAPP statute
25    because Defendants’ speech allegedly violated FARA and thus was illegal as a
26    matter of law. ECF No. 83 at 7. That argument fails for several reasons.
27    1
       Plaintiffs apparently misunderstood this point in Nader’s Motion. See ECF No.
28    83 at 9 n.4.
                                                 2
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 1          First, the illegal activity exception is much narrower than Plaintiffs imply.
 2    The anti-SLAPP law will apply unless “the defendant ‘concedes’ or
 3    ‘uncontroverted and conclusive evidence’ establishes the speech or petitioning
 4    activity is illegal.” Safari Club Int’l v. Rudolph, 862 F.3d 1113, 1121 (9th Cir.
 5    2017). “[M]erely asserting the existence of illegal activity and, indeed, even
 6    providing some evidence of illegal activity, is insufficient to preclude a defendant’s
 7    use of California’s anti-SLAPP statute.” Ekorus, Inc. v. Elohim EPF USA, Inc.,
 8    No. CV 20-310-GW-GJSx, 2020 WL 3891449, *3 (C.D. Cal. Apr. 24, 2020)
 9    (emphasis in original). Plaintiffs thus bear the burden of “conclusively proving the
10    illegal conduct” in order to invoke the exception. Id. Nader “does not have to
11    establish [that his] actions are constitutionally protected” to meet his burden under
12    the first prong of the anti-SLAPP statute. Flatley v. Mauro, 139 P.3d 2, 11 (Cal.
13    2006).
14          None of the defendants have admitted criminal liability under FARA. And
15    Plaintiffs have not sufficiently alleged—let alone “conclusively prov[en]”—that
16    Nader violated FARA. Though the Court must draw factual inferences in
17    Plaintiffs’ favor at this stage, it may not do so for unsupported legal conclusions.
18          Second, Plaintiffs fail to address the cases cited in Nader’s Motion, which
19    clearly state that FARA “places no burden on protected expression.” Meese v.
20    Keene, 481 U.S. 465, 480 (1987); see also Attorney General of U.S. v. The Irish
21    People, Inc., 612 F. Supp. 647, 654 (D.D.C. 1985). Plaintiffs cite no authority for
22    their bald assertion that if Nader or other defendants failed to register under FARA
23    when required to do so—which, again, Plaintiffs have not proven—such failure
24    would render the speech itself illegal as a matter of law.
25          Third, Plaintiffs have not contested that, if the illegal activity exception does
26    not apply, all of the purported “disinformation” statements about Qatar and its ties
27    to terrorism are constitutionally protected speech. See ECF No. 61 at 7:15–8:21.
28    Nader has made a prima facie showing that the Defendants’ actions are
                                             3
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 1    constitutionally protected speech, thus satisfying the first prong of the anti-SLAPP
 2    analysis. See ECF No. 61 at 7:13-9:22.
 3    III.   Plaintiffs Fail To Plead Either Fraud Or Negligence.
 4           Plaintiffs do nothing to show that their claims are pled with the particularity
 5    required by Rule 9(b). See ECF No. 83 at 7-8. They do not dispute that Nader
 6    made none of the specific statements they allege in the Complaint. See ECF No.
 7    61 at 12. And they do not dispute that the Complaint lacks factual assertions
 8    suggesting that any statements about Qatar funding terrorism would have been
 9    knowingly false. Id. at 14. No such allegations would have been plausible even if
10    they had been made: They would require a factfinder to conclude that Nader knew
11    better on these matters than the State Department, the Treasury Department, and
12    the current National Security Adviser. Id. at 13.
13           Plaintiffs try to sidestep these issues as to their negligence claim by asserting
14    that no heightened pleading standard applies to it. ECF No. 83 at 8. But when (as
15    here) a plaintiff’s claim is one of negligent misrepresentation, they must
16    adequately plead the same “who,” “when,” “where,” “how,” “and what” required
17    by a fraud claim. Townsend v. Chase Bank USA N.A., No., 8:08-cv-527-AG, 2009
18    WL 426393, at *4 (C.D. Cal. Feb. 15, 2009). But that is almost beside the point,
19    because Plaintiffs also do not dispute that they plead no actual facts showing that
20    Nader negligently, as opposed to intentionally, misrepresented facts about Qatar—
21    not a single fact explaining why Nader (or anyone else on the planet, in fact) could
22    know or should have known that Qatar supposedly does not sponsor or finance
23    terrorism. It is obviously true that parties can plead irreconcilable claims, see ECF
24    No. 83 at 19-20; Plaintiffs simply haven’t done so. As to negligence, they plead no
25    facts in support; they plead only the label.2
26
27
      2
        Plaintiffs’ half-hearted argument that “mere negligence” can suffice to support
      false advertising claims, see ECF No. 83 at 8, fails for this same reason—Plaintiffs
28    consistently plead only intentional misconduct.
                                                 4
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 1             Plaintiffs thus resort to a theory of negligence per se, yet admit—as they
 2    must—that it lies only where a plaintiff is from a “‘class of persons the statute . . .
 3    was designed to protect’” and the harm the plaintiff suffers is the kind that the
 4    statute “‘was designed to prevent.’” ECF No. 83 at 18 (citation omitted). But
 5    FARA creates no such class, see ECF No. 61 at 20, a point to which the Opposition
 6    (again) offers no response. And economic harm manifestly is not the kind of harm
 7    FARA was designed to address. Meese, 481 U.S. at 469 (FARA designed “to
 8    protect the national defense, internal security, and foreign relations of the United
 9    States”). Even if Plaintiffs could meet the other requirements of Cal. Evid. Code §
10    669(a)(1),3 their negligence claim would fail.
11    IV.      This Case Has Nothing To Do With Commercial Speech.
12             Plaintiffs’ UCL, FAL, and Lanham Act claims are fatally flawed because all
13    of the statements identified in the Complaint are non-commercial, political speech.
14    The Court should not conduct a Bolger analysis because of the clear delineation
15    between commercial advertising and Defendants’ protected political speech, to
16    which these laws do not apply. Plaintiffs’ reliance on Ariix, LLC v. NutriSearch
17    Corp., 985 F.3d 1107 (9th Cir. 2021) is misplaced. See ECF No. 53 at 5-6. Ariix
18    addressed a commercial dispute between competitors that marketed nutritional
19    supplements; it is not factually or legally analogous to this case.
20             The Bolger factors, in any event, would sink Plaintiffs’ claims. Even if
21    Nader had an economic motivation for his political speech, the third Bolger factor
22    could not outweigh Plaintiffs’ failure on the first two.
23

24    3
           Plaintiffs’ argument that this Code provision does not apply to their negligence
25        per se theory is incoherent. As their own case acknowledges, negligence per se is
          merely “‘an evidentiary presumption’” that violating a statute amounts to
26        breaching a duty of care. Opp. at 19 n. 9 (citation omitted). Plaintiffs do not
          argue that anything particular to Nader’s alleged violation of FARA is why his
27        violation also amounted to a breach of a duty of care; their argument is that his
          mere violation—or any mere violation of FARA—amounts to a breach of a duty
28        of care. That is precisely the “evidentiary presumption” they purport to disclaim.
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 1           First, Defendants’ speech was not commercial advertising. Even Plaintiffs
 2    agree that “the statements were not in the traditional form of an advertisement.”
 3    ECF No. 83 at 11. SCL’s checking a box labeled “advertising campaigns” on its
 4    FARA registration does not make its activity commercial. See id. at 12 & n.6.
 5    SCL’s FARA registrations describe the nature of its business activity as “global
 6    political and election communication services” and reflected “ad buys” on
 7    Facebook, Twitter, and other platforms that are thus political advertisements; they
 8    are not commercial ones.4
 9           Second, Defendants’ speech involved no product. Plaintiffs argue that
10    commercial speech may refer to a product generically rather than by name, but
11    they have failed to identify any product referenced even generically in Defendants’
12    speech— only “disparaging comments” about Qatar, a place. See ECF No. 83 at
13    12. The plain meaning of “product” is “something that is made or grown to be sold
14    or used.”5 A foreign country is not a “product.”
15           Further, Plaintiffs’ argument that Defendants’ speech should be “viewed in
16    the context of their commercial motivation,” ECF No. 83 at 22, is utterly
17    inconsistent with Plaintiffs’ insistence that Nader violated FARA (which he did
18    not). See, e.g., ECF No. 1 ¶¶ 6, 48-59; ECF No. 83 at 1, 6-7, 9. “[T]he Act’s
19    reporting and disclosure requirements are expressly conditioned upon a finding
20    that speech on behalf of a foreign principal has political or public-policy content.”
21    Meese v. Keene, 481 U.S. 465, 478 (1987) (emphasis added). FARA thus defines
22    an “agent of a foreign principal” as a person who “(i) engages . . . in political
23    activities” or “(ii) acts within the United States as a public relations counsel,
24
      4
       See https://efile.fara.gov/docs/6473-Registration-Statement-20171006-1.pdf at 2,
25
      7.
26    5
        See Merriam-Webster dictionary, available at https://www.merriam-
27    webster.com/dictionary/product?utm_campaign=sd&utm_medium=serp&utm_sou
28    rce=jsonld (last visited Nov. 18, 2021).
                                                 6
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 1    publicity agent, information-service employee or political consultant.”6 22 U.S.C.
 2    § 611(c) (emphases added). Those who engage only “in private and nonpolitical
 3    activities in furtherance of the bona fide trade or commerce of such foreign
 4    principal” are expressly exempt from FARA’s registration requirements. Id. §
 5    613(d) (emphasis added). To the extent Plaintiffs claim Defendants violated
 6    FARA, Plaintiffs necessarily concede that the alleged “disinformation” statements
 7    were political, not commercial.7
 8    V.       Plaintiffs’ Trade Libel Claim Is Defective.
 9             As to Rule 9(g)’s requirement that Plaintiffs plead “special damages” to
10    maintain their trade libel claim, Plaintiffs concede, as they must, (1) that Peterson
11    v. Sanghi, No. 8:18CV2000, 2019 WL 1715487, at *9 (C.D. Cal. Feb. 14, 2019),
12    requires that they plead “particular purchasers who have refrained from dealing
13    with them” and “specif[ic]” “transactions of which they claim to have been
14    deprived,” and (2) that they have failed to do so.
15             Instead, Plaintiffs note a much earlier case, Erlich v. Etner, 224 Cal. App. 2d
16    69, 73 (1964), which assertedly cabined the Peterson requirements to “the usual
17    case.” That argument gets them nowhere. Even Erlich held that it is “nearly
18    always” “not enough to show a general decline in [a plaintiff’s] business resulting
19    from the falsehood, even where no other cause is apparent, and that it is only the
20    loss of specific sales that can be recovered.” Erlich, 224 Cal. App. 2d at 73
21    (emphasis added). It then proceeded to apply the “nearly always” standard—and
22    to hold for the defendants—in circumstances just like those alleged here; i.e., in
23    which a plaintiff business alleged that certain individuals and entities conspired to
24    generate false and negative publicity regarding the plaintiff. Plaintiffs do not even
25
      6
26        Section 611(c)(iii) and (iv) describe activities not at issue in this case.

27
      7
       At minimum, any commercial speech here is “inextricably intertwined” with
      political speech and deserves full First Amendment Protection. See Mattel, Inc. v.
28    MCA Recs., Inc., 296 F.3d 894, 906 (9th Cir. 2002)
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 1    attempt to describe, much less plead, their case as anything outside the “usual
 2    case”—much less the “nearly always” case—for trade libel purposes.
 3            Even if Erlich offered Plaintiffs any daylight at all (it does not), the Peterson
 4    standard is unquestionably the law today. See, e.g., Homeland Housewares, LLC
 5    v. Euro-Pro Operating LLC, No. CV 14-3954 DDP, 2014 WL 6892141, at *4
 6    (C.D. Cal. Nov. 5, 2014) (allegations of “lost sales, market share, and customer
 7    goodwill” are insufficient to plead requisite special damages; no caveats).8
 8    VI.     Plaintiffs’ Claims Are Untimely.
 9            Plaintiffs offer two defective reasons why their claims are supposedly
10    timely. First, they suggest that, while they knew of their injury long ago, they only
11    “recently” learned of the alleged wrongdoing and/or the identity of one or more
12    unidentified defendants. See ECF No. 83 at 24. But such an argument runs head-
13    long into the authority already cited in Nader’s initial memorandum. See ECF No.
14    61 at 10-11. And the Complaint includes no alleged facts rendering their assertion
15    plausible, particularly as to Nader. Nor could it.9 Even if a “discovery rule” were
16    available (it is not), they have not properly pled it, and cannot do so.10
17            Second, Plaintiffs argue a “continuing violation” or “continuing accrual”
18    exception. ECF No. 83 at 25. Given the claims alleged by Plaintiffs, however,
19    those exceptions cannot save them. See, e.g., Jarrow Formulas, Inc. v. Nutrition
20
      8
21     Cf. Swiss Am. Trading Corp. v. Regal Assets, LLC, 2015 WL 631569 at *2-3
      (C.D. Cal. Feb. 13, 2015) (cited by Plaintiffs for supposedly imposing relaxed
22    standard, but doing so only where issued briefed only cursorily and where parties,
      unlike here, were in direct commercial competition)
23    9
       See, e.g., Desmond Butler & Tom LoBianco, The princes, the president and the
24    fortune seekers, AP News (May 21, 2018) (laying out, more than three years
      before Plaintiffs filed their complaint, the same allegations now parroted by
25    Plaintiffs, including regarding Nader).
      10
26      See also, e.g., WA Southwest 2, LLC v. First American Title Ins. Co., 240 Cal.
      App. 4th 148, 157 (2015) (“A plaintiff relying on the discovery rule must plead
27    (1) the time and manner of discovery and (2) the inability to have made earlier
      discovery despite reasonable diligence. Plaintiffs have an obligation to plead facts
28    demonstrating reasonable diligence.”) (quotation marks and citations omitted).
                                                  8
           REPLY IN SUPPORT OF DEFENDANT GEORGE NADER'S ANTI-SLAPP MOTION TO
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 1     Now, Inc., 304 F.3d 829, 837, 842 (9th Cir. 2002) (as to claims under the Lanham
 2     Act, as well as California’s Unfair Competition and False Advertising laws: “We
 3     hold that the presumption of laches is triggered if any part of the claimed wrongful
 4     conduct occurred beyond the limitations period.”). Plaintiffs do not plead in a non-
 5     cursory way a single allegedly wrongful act beyond “October 14, 2017,” ECF No.
 6     1 ¶ 83—i.e., more than three and three-quarter years before Plaintiffs actually filed
 7     this action—and even that alleged wrongful act (the uploading of a video—by a
 8     different defendant—criticizing Qatar’s connections to ISIS) is, on its face, merely
 9     the expression of political opinion and thus cannot support Plaintiffs’ allegations of
10     wrongdoing.
11     VII. Plaintiffs Are Not Entitled To Injunctive Relief.
12           Notwithstanding Plaintiffs’ effort to rewrite their claim for injunctive relief,
13     they still lack standing to seek, and still have not alleged a basis for, such relief.
14     Plaintiffs never have alleged that Nader put up any online content; he certainly
15     cannot take any down. See, e.g., Foster v. Blue Shield of California, 2007 WL
16     9770652, *3 (C.D. Cal. Feb. 5, 2007) (plaintiffs lack standing for particular relief
17     where Court cannot order redress). And Plaintiffs’ “stop tort-ing me” demand is
18     not only impossibly vague, see ECF No. 44 at 11-12, but again makes no sense
19     regarding Nader, who, per the Complaint, is incarcerated, see ECF No. 1 ¶ 24,
20     thereby precluding plausible allegations of the requisite “imminent” harm, e.g.,
21     Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir. 2018).
22           Plaintiffs also make no effort to address other deficiencies identified by
23     Nader, including that any threat of injury they face depends on speculation about
24     the possible future behavior of third parties (consumers of “high-end” travel
25     services). See ECF No. 61 at 22-23. On the strength of these arguments and
26     because Plaintiffs have defaulted as to them, the Court should strike Plaintiffs’
27     demand for injunctive relief. See, e.g., Creamer v. Starwood Hotels & Resorts
28     Worldwide, Inc., CV 16-9321-DSF, 2017 WL 2992739, *2 n.1 (C.D. Cal. May 11,
                                            9
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 1     2017) (“By failing to address [certain of defendant’s arguments], Plaintiffs concede
 2     their merit.”) (citing cases).
 3           Even if Plaintiffs had standing to seek injunctive relief as to Nader, their
 4     arguments (and citations exclusively to copyright and trademark infringement
 5     cases), see ECF No. 83 at 22, are not persuasive on their face. Plaintiffs’
 6     Complaint is all about supposed lost revenue, a death knell to their claim for
 7     injunctive relief in the best of circumstances, let alone here, where they seek to
 8     muzzle political speech about a nation state. See ECF No. 61 at 24.
 9                                       CONCLUSION
10           For the reasons discussed, the Court should strike Plaintiffs’ complaint and
11     award the Nader fees and costs under Cal. Civ. Proc. Code § 425.16(c)(1).
12     Alternatively, the Court should dismiss the Complaint for lack of standing and
13     failure to state a claim upon which relief can be granted.
14

15     November 22, 2021                       Respectfully submitted,
16                                             ANTONI ALBUS, LLP
17                                      By:     /s/ John Antoni
18                                             John Antoni, Esq. (SBN 163738)
                                               11836 W. Pico Boulevard
19                                             Los Angeles, CA 90064
20                                             Telephone: (310) 954-8020
                                               Facsimile: (310) 954-8988
21                                             Email: Antoni@aallp.net
22
                                               -and-
23                                             KAISERDILLON PLLC
24                                             William Pittard (pro hac vice)
                                               Courtney Forrest (pro hac vice)
25
                                               1099 14th Street NW
26                                             8th Floor West
                                               Washington, DC 20005
27
                                               Telephone: (202) 640-2850
28                                             Facsimile: (202) 280-1034
                                                 10
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 1                                        Email: wpittard@kaiserdillon.com
 2                                        Email: cforrest@kaiserdillon.com

 3                                        Attorneys for Defendant George Nader
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        REPLY IN SUPPORT OF DEFENDANT GEORGE NADER'S ANTI-SLAPP MOTION TO
                            STRIKE OR MOTION TO DISMISS
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 1                              CERTIFICATE OF SERVICE
 2           I certify that, on November 22, 2021, I electronically filed the foregoing
 3     with the Clerk of the Court using the CM/ECF system, which will send notice to
 4     all counsel of record.
 5

 6
                                             /s/ John Antoni
                                             John Antoni
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                                   CERTIFICATE OF SERVICE
